
44 So.3d 149 (2010)
Jorge DIAZ, Appellant,
v.
MERCEDES-BENZ USA, LLC, Appellee.
No. 3D09-1248.
District Court of Appeal of Florida, Third District.
August 11, 2010.
Rehearing and Rehearing En Banc Denied October 6, 2010.
Aldo Bolliger, Tampa, for appellant.
Golden &amp; Grimes, Yasir Billoo and John Golden, Miami, for appellee.
Before WELLS, SHEPHERD, and SUAREZ, JJ.
WELLS, Judge.
Jorge Diaz, plaintiff below, appeals the trial court order dated February 18, 2009, granting new trial, the order dated March 16, 2009, denying plaintiff's motion for rehearing and plaintiff's motion for leave to amend, and the order dated April 7, 2009, granting defendant's motion for stay of execution and motion to vacate final judgment and denying defendant's motion for sanctions. We dismiss as untimely the appeals of the orders of February 18, 2009, and March 16, 2009. We affirm the order of April 7, 2009.
Affirmed in part; dismissed in part.
